                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:13-00069
                                                   )       JUDGE CAMPBELL
LUIS REYNALDO PARRA FLORES                         )

                                            ORDER

         The plea hearing currently scheduled for July 1, 2013, at 3:00 p.m. is RESCHEDULED for

July 1, 2013, at 9:00 a.m.

         It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00069      Document 62      Filed 06/28/13    Page 1 of 1 PageID #: 197
